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Benjamin DeGolia

From:                 Benjamin DeGolia
Sent:                 Friday, November 26, 2021 11:17 AM
To:                   Skip Spear
Cc:                   Jennifer Hunt; Matthew Cron; Ciara Anderson; Lauren Davison; Craig Silverman;
                      jpagliuca@hmflaw.com; jacqueline.guesno@jacksonlewis.com; Garcia, Emely (Denver)
Subject:              RE: Schiller v. Bd of Governors -- deposition scheduling


Good morning Skip,

As we indicated in our initial responses to CSU’s discovery requests, CSU’s requests for production regarding Plaintiff’s
social media accounts and electronic communications are overbroad on their face. The requests merely ask for any
social media content and communications “relating to” the “allegations in the Complaint.” During our conferral, we
stated that we would need the scope of these requests to be narrowed in order to produce responsive content, if any
exists beyond what has already been produced. We suggested that narrowing could be achieved through an ESI
protocol, through which the parties could agree to a set of search terms to search Ms. Schiller’s emails and social media
accounts. We also indicated that we think an ESI protocol is warranted to ensure a diligent search of Defendants’ ESI.

If you would prefer to propound new requests for production that substantively narrow the scope of the information
sought (e.g., social media posts or communications that discuss or refer to specific subject matter), we are open to
considering those as an alternative to entering into an ESI protocol.

All best,

Benjamin DeGolia
he/him/his
RATHOD | MOHAMEDBHAI LLC
2701 Lawrence Street, Suite 100
Denver, Colorado 80205
(303) 578-4400 (t) / (303) 578-4401 (f)
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From: Skip Spear <Skip.Spear@coag.gov>
Sent: Wednesday, November 24, 2021 11:11 AM
To: Benjamin DeGolia <bd@rmlawyers.com>
Cc: Jennifer Hunt <Jennifer.Hunt@coag.gov>; Matthew Cron <mc@rmlawyers.com>; Ciara Anderson
<ca@rmlawyers.com>; Lauren Davison <Lauren.Davison@coag.gov>; Craig Silverman
<csilverman@springersteinberg.com>; jpagliuca@hmflaw.com; jacqueline.guesno@jacksonlewis.com; Garcia, Emely
(Denver) <Emely.Garcia@jacksonlewis.com>
Subject: RE: Schiller v. Bd of Governors ‐‐ deposition scheduling

Hi Ben,

Ciara’s email provides dates that Plaintiff’s counsel are available “to take depositions.” Is Ms.
Schiller also available for deposition on those same dates?
                                                            1
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Are you in a position to provide details as to why an ESI protocol is necessary to search a single
individual’s emails and social media posts?

Thank you.

Skippere “Skip” Spear
Pronouns: he, him, his
Senior Assistant Attorney General
Colorado Department of Law
State Services Section, Higher Education Unit
1300 Broadway, 6th Floor
Denver, Colorado 80203
(720) 508-6140




From: Benjamin DeGolia <bd@rmlawyers.com>
Sent: Wednesday, November 24, 2021 10:58 AM
To: Skip Spear <Skip.Spear@coag.gov>
Cc: Jennifer Hunt <Jennifer.Hunt@coag.gov>; Matthew Cron <mc@rmlawyers.com>; Ciara Anderson
<ca@rmlawyers.com>; Lauren Davison <Lauren.Davison@coag.gov>; Craig Silverman
<csilverman@springersteinberg.com>; jpagliuca@hmflaw.com; jacqueline.guesno@jacksonlewis.com; Garcia, Emely
(Denver) <Emely.Garcia@jacksonlewis.com>
Subject: RE: Schiller v. Bd of Governors ‐‐ deposition scheduling

Good morning Skip,

We are currently working on supplementing Plaintiff's responses to CSU's discovery requests, and will get those to you
early next week. By way of a preview, as I mentioned in our last conferral, we will need an ESI protocol to search Ms.
Schiller's communications and social media. We will gladly provide a draft protocol and circulate within the next 1‐2
weeks. As to dates for Ms. Schiller's deposition, please see Ciara's email last week, providing possible dates in early and
mid‐January, and also requesting dates for a number of CSU witnesses.

Hope you all have a nice Thanksgiving.

All best,
Ben


On Nov 24, 2021 10:52 AM, Skip Spear <Skip.Spear@coag.gov> wrote:

 Good morning Matthew, Ciara, and Benjamin.



 Following up on Jennifer’s email, have you determined when Ms. Schiller is available for her
 deposition? We originally requested dates back in September.



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